  Case: 5:24-cv-00304-DCR Doc #: 2 Filed: 10/23/24 Page: 1 of 3 - Page ID#: 72




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             LEXINGTON DIVISION


FORCHT BANK, N.A., KENTUCKY
BANKERS ASSOCIATION, and BANK                         No:
POLICY INSTITUTE,

                        Plaintiffs,
                                                            ELECTRONICALLY
                   v.                                           FILED

CONSUMER FINANCIAL PROTECTION
BUREAU and ROHIT CHOPRA, in his official
capacity,

                        Defendants.


                FRCP 7.1 STATEMENT OF FINANCIAL INTERESTS
                      OF PLAINTIFF FORCHT BANK, N.A.

        Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Forcht Bank, N.A.,

makes the following disclosure:


1. The identity of any parent corporation of Forcht Bank, N.A.


Forcht Bancorp, Inc.


2. The identity of any publicly held corporation that owns 10% or more of Forcht

Bank, N.A.


None.

                                           Respectfully submitted,
  Case: 5:24-cv-00304-DCR Doc #: 2 Filed: 10/23/24 Page: 2 of 3 - Page ID#: 73




                                       /s/ John T. McGarvey
Timothy A. Schenk (KY Bar #92011)     John T. McGarvey (KY Bar #46230)
KENTUCKY BANKERS                      MORGAN POTTINGER MCGARVEY
ASSOCIATION                           401 South Fourth Street, Suite 1200
600 W Main Street #400                Louisville, KY 40202
Louisville, KY 40202                  (502) 560-6759
Tel: (502) 582-2453                   jtm@mpmfirm.com
tschenk@kybanks.com
                                      Jeffrey B. Wall*
John Court**                          Judson O. Littleton*
Paige Pidano Paridon**                SULLIVAN & CROMWELL LLP
BANK POLICY INSTITUTE                 1700 New York Avenue, N.W.
1300 I Street NW, Suite 1100 West     Washington, D.C. 20006
Washington, D.C. 20005                Tel: (202) 956-7000
Tel: (202) 289-4322                   wallj@sullcrom.com
john.court@bpi.com                    littletonj@sullcrom.com
paige.paridon@bpi.com
                                      Robert A. Flatow*
* Pro hac vice pending                SULLIVAN & CROMWELL LLP
** Pro hac vice forthcoming           125 Broad Street
                                      New York, NY 10004
                                      Tel: (212) 558-4000
                                      flatowr@sullcrom.com

                                      Counsel for Plaintiffs Forcht Bank, N.A.,
                                      Kentucky Bankers Association, and
                                      Bank Policy Institute




                                      -2-
Case: 5:24-cv-00304-DCR Doc #: 2 Filed: 10/23/24 Page: 3 of 3 - Page ID#: 74




                          CERTIFICATE OF SERVICE
        I hereby certify that on October 22, 2024, I electronically filed this document
with the clerk of the court by using the CM/ECF system, which will send a notice
of electronic filing to all counsel of record.




                                                /s/ John T. McGarvey
                                                Co-counsel for Plaintiffs Forcht Bank
                                                N.A., Kentucky Bankers Association,
                                                and Bank Policy Institute




                                          -3-
